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                                  Courtroom Minute Entry
Room: Judge Tinsley Charleston                  Case No.: 2:24-cr-00145                             Type: IA & AR
Caption: USA v. Theodore Miller                 Judge: Judge Aboulhosn

Started: 9/12/2024 10:56:18 AM
Ends:    9/12/2024 11:27:30 AM          Length: 00:31:13

10:56:22 AM   Judge Omar Aboulhosn
10:56:22 AM   Courtroom Deputy Tammy Davis
10:56:23 AM   Court Reporter: Court Smart
10:56:24 AM   AUSA Holly Wilson
10:56:25 AM   AFPD David R. Bungard
10:56:26 AM   Defendant Theodore Miller
10:56:32 AM   USPO Michele Wentz
10:56:42 AM   INITIAL APPEARANCE ON INDICTMENT
11:02:01 AM   Calls case.
11:02:06 AM   Counsel please note your appearances for the record.
11:02:08 AM   AUSA Holly Wilson
11:02:09 AM   Notes appearance on behalf of the United States.
11:02:11 AM   AFPD David R. Bungard
11:02:12 AM   Notes appearance on behalf of the defendant.
11:02:14 AM   Judge Omar Aboulhosn
11:02:17 AM   States basis of hearing.
11:02:20 AM   Places the defendant under oath.
11:02:35 AM   Before I get into the Arraignment Hearing, the Court received an amended financial affidavit from
11:03:36 AM   the defendant. Is the information you put in the amended financial true?
11:03:58 AM   Defendant Theodore Miller
11:04:00 AM   Yes, to the best of my knowledge.
11:04:06 AM   Judge Omar Aboulhosn
11:04:13 AM   Discusses any income the defendant receives from TikTok and rental properties.
11:05:16 AM   Let's go through the list of properties.
11:09:17 AM   AFPD David R. Bungard
11:09:19 AM   I will object at this point, your honor.
11:09:30 AM   Judge Omar Aboulhosn
11:09:32 AM   Discusses debt owed to bank/investors.
11:10:17 AM   AFPD David R. Bungard
11:10:19 AM   Discusses the Promissory Notes to other individuals is debt.
11:10:36 AM   Judge Omar Aboulhosn
11:10:38 AM   Continues to discuss property and Liens, and Promissory Notes.
11:13:17 AM   AFPD David R. Bungard
11:14:19 AM   Addresses the liabilities and debts.
11:14:32 AM   Judge Omar Aboulhosn
11:14:40 AM   I want it to be clear what the debt is.
11:15:53 AM   I think it is fair to leave it up to the District Judge as to the financial and if the defendant should
11:16:15 AM   contribute to his defense.
11:16:33 AM   States rights of defendant and defendant acknowledges these rights.
11:16:42 AM   It is my understanding the defendant was ordered detained on a Complaint, is that correct?
11:17:03 AM   AFPD David R. Bungard
11:17:05 AM   Yes.
11:17:23 AM   Defendant Theodore Miller
11:17:58 AM   States personal information
11:18:00 AM   Judge Omar Aboulhosn
11:18:02 AM   States additional rights of defendant and defendant acknowledges these rights.
11:18:36 AM   ARRAIGNMENT HEARING
11:18:39 AM   States violation(s) in charging document and possible penalties.
11:20:01 AM   Questions defendant about Indictment related matters.
11:20:16 AM   Defendant pleads NOT GUILTY to charge(s) contained in the Indictment.
11:20:20 AM   This case has been assigned to United States District Judge Irene C. Berger.
11:20:23 AM   Your trial is scheduled for 9:00 a.m. on October 21, 2024, here in Charleston.
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11:20:31 AM   There will be a pretrial motions hearing held before me at 11:00 a.m. on October 3, 2024, in Charleston.
11:20:37 AM   Counsel, I assume your client does not waive the right to appear at the pretrial motions hearing?
11:20:40 AM   AFPD David R. Bungard
11:20:42 AM   No sir. Defendant does not waive the right to be present at the pretrial motions hearing.
11:20:44 AM   Judge Omar Aboulhosn
11:20:50 AM   Thank you, you may be seated.
11:20:51 AM   Parties have elected the standard discovery, pretrial motions, voir dire and witness list dates
11:21:01 AM   given. As required by Rule 5(f), the United States is ordered to produce all exculpatory evidence to
11:21:04 AM   the defendant pursuant to Brady v. Maryland and its progeny. Not doing so in a timely manner
11:21:08 AM   may result in sanctions, including exclusion of evidence, adverse jury instructions, dismissal of
11:21:12 AM   charges and contempt proceedings.
11:21:18 AM   Is there anything else we need to take care of?
11:21:27 AM   AFPD David R. Bungard
11:21:30 AM   I would renew our request for detention.
11:21:55 AM   We are asking for consideration for Mr. Miller's release on bond.
11:22:13 AM   Discusses this is a white-collar fraud charge. There was no violence.
11:23:05 AM   Mr. Miller's family brought to me his passport that I have.
11:23:18 AM   Discusses the government's concern about the defendant fleeing when Judge Tinsley heard this
11:24:33 AM   matter. Discusses Mr. Miller would not oppose any restrictions the Court would place on him.
11:24:51 AM   Judge Omar Aboulhosn
11:24:54 AM   I don't know procedurally that I can do anything. Judge Berger would need to rule on your motion.
11:26:06 AM   I would expect Judge Berger to rule on that sooner than later.
11:26:57 AM   Defendant is remanded to the custody of the US Marshals pending further order of the Court.
11:27:23 AM   Hearing adjourned.
